     Case 2:13-cr-06070-SAB      ECF No. 98    filed 07/22/24   PageID.334      Page 1 of 2
                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON




 1                                                                    Jul 22, 2024
                         UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK
 2                      EASTERN DISTRICT OF WASHINGTON
 3
 4   UNITED STATES OF AMERICA,                       No. 2:13-CR-06070-SAB
 5                       Plaintiff,                  ORDER FOLLOWING INITIAL
 6                                                   APPEARANCE ON SUPERVISED
                         v.                          RELEASE VIOLATION PETITION
 7
 8   KENNETH RICHARD ROWELL,                          MOTION GRANTED
 9                                                      (ECF No. 88)
                         Defendant.
10                                                   **USMS ACTION REQUIRED**
11
12
           On July 18, 2024, the Court held a hearing for Defendant KENNETH
13
     RICHARD ROWELL’S initial appearance based on a petition for action, post-
14
     conviction, filed May 29, 2024, ECF No. 83, alleging Violation Nos. 1-8. Defendant
15
     appeared in custody represented by Assistant Federal Defender Craig Webster.
16
17   Assistant U.S. Attorney Brandon Pang represented the United States. U.S. Probation

18   Officer SanJuanita Coronado was also present.
19         Defendant consented to the proceedings being conducted by video with the
20   Court presiding in Spokane, the Government, Defendant, and his counsel appearing
21   in Richland.
22         Defendant was advised of, and acknowledged, his rights. A denial of the
23   violations pending on the petition was entered on behalf of Defendant.
24         The Office of the Federal Defenders of Eastern Washington and Idaho was
25   appointed to represent the Defendant in this matter.
26         The United States is seeking Defendant’s detention. ECF No. 88.
27   Defendant, personally and through counsel, waived his right to a detention hearing
28



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 1   but reserved the right to revisit the issue of detention should circumstances change.

 2   Defendant also waived a probable cause hearing and did not dispute that probable
 3   cause exists for purposes of scheduling a supervised release revocation hearing.
 4         Accordingly, IT IS ORDERED:
 5         1.     The United States’ Motion for Detention, ECF No. 88, is
 6   GRANTED.
 7         2.     The Court finds PROBABLE CAUSE to hold Defendant to respond
 8   to the violations set forth in the petition, ECF No. 83.
 9         3.     Defendant is remanded to the custody of the U.S. Marshal pending
10   further hearings or until further order of the Court and shall be afforded reasonable
11   opportunity for private consultation with counsel.
12
           4.     A supervised release revocation hearing is set before Chief Judge
13
     Bastian, in Yakima, Washington, on July 23, 2024, at 9:30 a.m.
14
           IT IS SO ORDERED.
15
16         DATED July 22, 2024.

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                                  _____________________________________
18                                          JAMES A. GOEKE
19                                 UNITED STATES MAGISTRATE JUDGE
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